
The People of the State of New York, Respondent,
againstIzayiah Armstrong, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Lisa A. Sokoloff, J. at plea; Lyle E. Frank, at replea and sentencing), rendered March 16, 2017, convicting him, upon a plea of guilty, of criminal possession of a weapon in the fourth degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Lisa A. Sokoloff, J. at plea; Lyle E. Frank, at replea and sentencing), rendered March 16, 2017, affirmed.
Defendant argues that his guilty plea to the charge of criminal possession of a weapon in the fourth degree was not knowing, voluntary and intelligent, and that the accusatory instrument was jurisdictionally defective as to such charge. Significantly, however, the only relief defendant requests is dismissal of the entire accusatory instrument, an instrument alleging that a police officer observed defendant "run out from behind a building," "chasing an unknown male" while "holding a knife" that measured "approximately seven inches." Since it cannot be said that no penological purpose would be served by remanding the matter to Criminal Court for further proceedings on the remaining misdemeanor offenses charged therein, including second-degree reckless endangerment (see Penal Law § 120.20) and a second count of fourth-degree criminal possession of a weapon (see Penal Law § 265.01[2]]) (see People v Allen, 39 NY2d 916, 918 [1976]), dismissal is not warranted and therefore we affirm on this basis (see People v Conceicao 26 NY3d 375, 385 n 1 [2015]; People v Teron, 139 AD3d 450 [2016]). In any event, we also find that defendant knowingly, voluntarily and intelligently entered his negotiated plea of guilty with the assistance of counsel, in exchange for a very favorable disposition.
We have considered defendant's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 17, 2018










